        Case 1:20-cv-00847-TWT Document 14 Filed 04/22/20 Page 1 of 6




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CARA CHIAPPA and DAN ALFONSO,                     )
individually and on behalf of                     )
all others similarly situated,                    )
                                                  )
                    Plaintiffs,                   ) CIVIL ACTION FILE
v.                                                ) NO.: 1:20-cv-00847-TWT
                                                  )
CUMULUS MEDIA, INC.,                              )
and JOHN DOES 1-10.,                              )
                                                  )
                    Defendants.                   )
                                                  )

    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
 DISCLOSURE STATEMENT OF DEFENDANT CUMULUS MEDIA INC.

      Pursuant to Local Rule 3.3, Northern District of Georgia, and Federal Rule

of Civil Procedure 7.1, Defendant Cumulus Media Inc. hereby submits its

Certificate of Interested Persons and Corporate Disclosure Statement.

       (1) The undersigned counsel of record for the defendant to this action
certifies that the following is a full and complete list of all parties in this action,
including any parent corporation and any publicly held corporation that owns 10%
or more of the stock of a party:

Plaintiffs:   Cara Chiappa
              Dan Alfonso

Defendant: Cumulus Media Inc. is a parent corporation and is a publicly traded
           company.
           Eaton Vance Management owns more than 10% of Cumulus Media
           Inc. Eaton Vance Management is a wholly owned subsidiary of
        Case 1:20-cv-00847-TWT Document 14 Filed 04/22/20 Page 2 of 6




              Eaton Vance Corp., which is a publicly traded company.


       (2) The undersigned further certifies that the following is a full and complete
list of all other persons, associations, firms, partnerships, or corporations having
either a financial interest in or other interest which could be substantially affected
by the outcome of this particular case:

      Cumulus Media Inc. is not aware, at this time, of any other such persons.


        (3) The undersigned further certifies that the following is a full and complete
list of all persons serving as attorneys for the defendant in this proceeding:

      David Tetrick
      Darren Shuler
      Alexander Gray

      King & Spalding LLP

      Submitted this 22nd day of April, 2020.

                                              /s/ David Tetrick, Jr.
                                              David Tetrick, Jr.
                                              Georgia Bar No. 713653
                                              Darren A. Shuler
                                              Georgia Bar No. 644276
                                              Alexander Gray
                                              Georgia Bar No. 301019
                                              KING & SPALDING LLP
                                              1180 Peachtree Street, N.E.
                                              Atlanta, Georgia 30309-3521
                                              Telephone: (404) 572-4600
                                              Fax: (404) 572-5138
                                              dtetrick@kslaw.com
                                              dshuler@kslaw.com
                                              alex.gray@kslaw.com



                                          2
Case 1:20-cv-00847-TWT Document 14 Filed 04/22/20 Page 3 of 6




                                 Counsel for Defendant
                                 Cumulus Media Inc.




                             3
Case 1:20-cv-00847-TWT Document 14 Filed 04/22/20 Page 4 of 6
        Case 1:20-cv-00847-TWT Document 14 Filed 04/22/20 Page 5 of 6




                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing

CERTIFICATE         OF    INTERESTED        PERSONS     AND     CORPORATE

DISCLOSURE STATEMENT FOR DEFENDANT CUMULUS MEDIA INC.

was electronically filed with the Clerk of the Court using the CM/ECF system,

which will automatically send notification of such filing and make available the

same to all counsel of record:

             JOHNSON FISTEL, LLP
             Michael I. Fistel, Jr.
             michaelf@johnsonfistel.com
             Georgia Bar No.: 262062
             William W. Stone
             williams@johnsonfistel.com
             Georgia Bar No.: 273907
             Mary Ellen Conner
             maryellenc@johnsonfistel.com
             Georgia Bar No.: 195077
             Adam J. Sunstrom
             adams@johnsonfistel.com
             Georgia Bar No.: 556579
             40 Powder Springs Street
             Marietta, GA 30064
             Telephone: (470) 632-6000
             Facsimile: (770) 200-3101

             CAPOZZI ADLER, P.C.
             Mark K. Gyandoh, Esquire
             312 Old Lancaster Road
             Merion Station, PA 19066
             Tel: (610) 890-0200
 Case 1:20-cv-00847-TWT Document 14 Filed 04/22/20 Page 6 of 6




      Fax (717) 233-4103
      Email: markg@capozziadler.com

      Donald R. Reavey, Esquire
      2933 North Front Street
      Harrisburg, PA 17110
      Telephone: (717) 233-4101

This 22nd day of April, 2020.
                                      /s/ David Tetrick, Jr.
                                      David Tetrick, Jr.
                                      Georgia Bar No. 713653
                                      Counsel for Cumulus Media Inc.




                                  2
